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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 MEAGHAN WALKER,                               )
                                               )
        Plaintiff,                             )
                                               )      Civil Action No. 8:25-cv-01284-LKG
 v.                                            )
                                               )
 AMERICAN SOCIETY OF HEALTH-                   )
 SYSTEM PHARMACISTS, INC. et al.,              )
                                               )
        Defendants.                            )
                                               )


                                CASE MANAGEMENT ORDER

        Federal Rule of Civil Procedure 83(b) provides that “[a] judge may regulate practice in
any manner consistent with federal law, rules adopted under 28 U.S.C. §§ 2072 and 2075, and
the district’s local rules.” Such case management includes holding pretrial conferences for the
purpose of “establishing early and continuing control so that the case will not be protracted
because of lack of management” and “discouraging wasteful pretrial activities.” Fed. R. Civ. P.
16(a).

        Pursuant to these authorities, and in an effort to streamline proceedings, reduce
unnecessary and costly motions practice, and “to secure the just, speedy, and inexpensive
determination of every action and proceeding,” Fed. R. Civ. P. 1, this Standing Case
Management Order (the “Case Management Order”) shall govern in all civil proceedings before
Judge Griggsby, until and unless expressly superseded. Although this Case Management Order
places formal requirements on the manner in which cases shall proceed, it is intended only to
more effectively channel the efforts of litigants and to allocate the resources of the Court. This
Case Management Order does not, and is not intended to, modify or abridge any substantive
rights of any litigant.

I.     Applicability

       A.      Effective Date

        This Case Management Order is effective upon its filing as to any parties who have
already appeared. For any parties who have not appeared at the time that this Case Management
Order is entered upon the docket, this Case Management Order is effective immediately upon
receipt. Entry of an appearance by counsel, which includes gaining access to the docket of this
case through CM/ECF, shall constitute receipt. But, this Case Management Order is not to be
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construed so as to penalize any party who violates its terms without having received notice of its
contents. See Fed. R. Civ. P. 83(b).

       B.      Service Of Order

               1.     If this Case Management Order is entered before the summons and
       complaint have been served upon all defendants, a copy of this Case Management Order
       shall be served upon any unserved Defendants simultaneously with the summons and
       complaint, in any manner authorized by Rule 4(c).

               2.       If this Case Management Order is entered after the summons and
       complaint have been served upon all defendants, but before all defendants have appeared,
       plaintiff shall serve a copy of this Case Management Order on all defendants who have
       not yet appeared in a manner consistent with Rule 5(b) and reasonably calculated to
       provide prompt, actual notice of this Case Management Order. Such service is to be
       effected within three (3) business days of entry of this Case Management Order, unless
       good cause is shown as to why service cannot be effected within that time.

II.    Motions Practice

       A.      Pre-Motion Notice And Conference

              1.      No motions may be filed without first seeking a Pre-Motion Conference
       with the Court. This limitation applies to any and all motions, including Motions to
       Dismiss filed in lieu of an Answer, with the exception of: (1) motions for extension of
       time and (2) motions in prisoner cases when the prisoner is not represented by counsel.

               2.      If a party intends to file a motion, it must first file a Notice of Intent to File
       a Motion (the “Notice”), not to exceed three single-spaced pages, containing a brief
       description of the motion sought to be filed, a brief summary of the particularized factual
       and legal support for the motion, whether the parties have communicated with each other,
       and a proposed briefing schedule for the filing of the motion. The Notice shall contain
       sufficient information to demonstrate that it is premised on colorable, good-faith
       arguments and is not frivolous or brought for any improper purpose, Fed. R. Civ. P. 11,
       but need not contain more. The Notice shall state whether the parties have met and
       conferred to discuss whether the matter at issue can be resolved without a motion.

               3.      No response to the Notice is necessary or shall be permitted.

              4.      The timely filing of a Notice, within the time period to file the underlying
       motion to which it relates, will toll the time to file such motion until the date set by the
       Court at the Pre-Motion Conference. In the event that a Notice seeks to file a pre-Answer
       motion to dismiss, this provision also will apply, and the time to answer provided in
       Federal Rule of Civil Procedure 12(a) will be tolled.




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        5.      Upon receipt of the Notice, the Court shall schedule a telephonic Pre-
Motion Conference with all parties. In addition to the proposed motion, the parties shall
be prepared to address whether they consent, pursuant to 28 U.S.C. § 636(c), to have all
further proceedings before a Magistrate Judge and whether they wish to participate in a
mediation session with a Magistrate Judge, whether before, during, or after discovery.
The parties are encouraged and expected to consult with their clients and to confer with
each other on these matters in advance of the Pre-Motion Conference and, if possible, to
present joint views to the Court.

        6.     Pursuant to Local Rule 105.3 (D. Md. 2023), no memorandum or brief in
support of a motion, or in opposition thereto, shall exceed thirty (30) pages, nor shall any
reply memorandum or brief exceed fifteen (15) pages, exclusive of exhibits and tables,
without leave of the Court. Approval to exceed these page limits may be sought during
the Pre-Motion Conference. All briefs must be in 12- point font, including footnotes, and
the document margins must be 1” on all sides.

        7.      Except as provided herein, or as ordered during a Pre-Motion Conference,
all motions must comply with the Local Rules of this Court. See e.g., Local Rule
105.2(c) (covering cross-motions for summary judgment); Local Rule 105.3 (providing
for page limits); and Local Rule 105.4 (providing for tables of contents in lengthy
memoranda).

       8.      Should the Court determine that no Pre-Motion Conference is necessary,
the Court will cancel the conference and issue a Scheduling Order regarding the filing of
motions in accordance with the terms of this Case Management Order and the Local
Rules.

B.     Submission Of Exhibits/Joint Record

        1.       In the event that a party files a motion for summary judgment, or the
parties file cross-motions for summary judgment, pursuant to Federal Rule of Civil
Procedure 56, all parties shall cooperate to compile a joint statement of facts that are not
disputed for the purposes of summary judgment. Such facts shall be submitted in a Joint
Statement of Undisputed Facts and need not—and shall not—be supported with
additional documentary evidence. The parties may stipulate to facts, or to the
authenticity, relevance, or admissibility of particular documents, for the purposes of
summary judgment without prejudice to their ability to dispute such facts in good faith at
later proceedings.

        2.      With respect to all other evidence to be considered on summary judgment,
the parties shall submit a single, consolidated record (the “Joint Record”), as follows:


               a. The party filing first shall compile any exhibits needed to support its
                  position. All exhibits shall be provided in a clear format that includes
                  the complete document, rather than an excerpt. All deposition

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              transcripts shall be highlighted to identify the cited portions in a
              manner that allows both the highlighting and the highlighted text to be
              clear and easily seen as filed. Any lengthy documents (more than 10
              pages) of which only certain portions are relevant shall be highlighted
              similarly. If only a de minimis portion of a document or deposition is
              necessary, the parties may seek permission to file only the first page of
              the document and the relevant portion.

           b. All exhibits shall be produced in a clear, legible format. Photographic
              or photocopied exhibits must be included in their original format
              (color or black-and-white) and in sufficient quality and resolution that
              their contents are reasonably clear. Any documents that cannot be
              printed on standard 8.5"x11" paper must, to the extent possible, be
              placed in a folder or securely affixed to a page of paper or cardstock
              that is 8.5"x11".

           c. The initial movant’s exhibits shall be tabbed with exhibit numbers and
              each page shall be consecutively numbered (such as with a Bates
              stamp or equivalent method) so that, for example, the first page of
              exhibit two will bear the number immediately following the number of
              the last page in exhibit one, and so forth for all the exhibits. Each page
              submitted will therefore have a unique Joint Record (“J.R.”) number.

           d. No exhibits need be filed with the Court with the filing of the initial
              motion, but the exhibits shall be provided to the opposing party in a
              manner that allows them to cite to the exhibit and J.R. numbers used
              by the movant. All citations shall be to both the relevant exhibit and
              J.R. number. For citations to deposition transcripts with multiple
              pages of transcript on a single exhibit page, the original transcript page
              and relevant line numbers shall be provided in parentheses following
              the exhibit number and J.R. number.

           e. The respondent/cross-movant shall not provide duplicates of any of the
              initial movant’s exhibits but, to the extent necessary, shall cite to those
              same exhibits by exhibit and J.R. number. To the extent practicable,
              the respondent/cross-movant shall ensure that relevant portions of
              depositions or lengthy documents are highlighted even if those
              exhibits originally were provided by movant.

           f. If the respondent/cross-movant seeks to rely upon additional exhibits,
              or to submit any other materials, it shall do so in the same format as
              provided in paragraphs 2.a–d above. Respondent/cross-movant shall
              begin numbering its exhibits and its pages where movant’s
              exhibits/pages left off. For example, if movant provides fifteen
              exhibits, numbered 1–15, and comprising pages 1–200,



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                            respondent/cross-movant should begin with exhibit 16, and the first
                            page should be numbered 201.

                        g. The same procedure shall be followed for exhibits relevant to
                           subsequently filed memoranda, such as a reply or, if permitted by the
                           Court, sur-reply memorandum. 1

                        h. If a party believes that it requires additional facts to oppose summary
                           judgment pursuant to Federal Rule of Civil Procedure 56(d), it shall
                           state those facts with particularity in an affidavit and include that
                           affidavit as an exhibit in the Joint Record.

                        i. Within seven (7) days of the filing of the final brief on the Motion, the
                           parties shall jointly file the Joint Record, both electronically and in
                           hard copy in a single, bound volume(s). Notwithstanding Local Rule
                           105.5, all exhibits shall be tabbed and indexed, and shall be bound
                           along the left side in a three-ring binder. 2



    Dated: April 30, 2025                             s/ Lydia Kay Griggsby
                                                      LYDIA KAY GRIGGSBY
                                                      United States District Judge




1
  Any objections to an exhibit shall be stated, in 250 words or less, on a cover page to that exhibit.
“Under Fed. R. Civ. P. 56, as amended in 2010, facts in support of or opposition to a motion for summary
judgment need not be in admissible form; the requirement is that the party identify facts that could be put
in admissible form.” Mallik v. Sebelius, 964 F. Supp. 2d 531, 546 (D. Md. 2013). And so, the mere fact
that a document is inadmissible in its current form is not a valid objection. Similarly, objections to the
contents or credibility should not be made unless they have a nonfrivolous basis. The party offering an
exhibit may respond to the objection in 250 words or less, on the same cover page. But, an objection to
an adversary’s exhibit is not a basis for excluding any document from the Joint Record.
2
  The procedures for the submission of exhibits relating to a summary judgment motion, set forth in part
II.B.2 above, shall also be followed by the parties in submitting exhibits in relation to any other
substantive motion for which exhibits are relevant, including a motion to dismiss.


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